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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


FLORIDA STATE CONFERENCE     4:21-cv-187-MW/MAF
OF BRANCHES AND YOUTH
UNITS OF THE NAACP, COMMON Cases Consolidated for Trial With:
CAUSE FLORIDA, AND
DISABILITY RIGHTS FLORIDA, Case Nos.:

               Plaintiffs,             4:21-cv-186-MW/MAF (lead case)
                                       4:21-cv-201-MW/MAF
                  v.                   4:21-cv-242-MW/MAF
LAUREL M. LEE, in her official
capacity as Florida Secretary of
State, et al.,
               Defendants,
               and
REPUBLICAN NATIONAL
COMMITTEE, and NATIONAL
REPUBLICAN SENATORIAL
COMMITTEE,
             Intervenor-
            Defendants.


THE NAACP PLAINTIFFS’ RENEWED MOTION TO DETERMINE
 ENTITLEMENT TO ATTORNEYS’ FEES, EXPERT FEES, AND
      LITIGATION EXPENSES AND INCORPORATED
               MEMORANDUM OF LAW
     Pursuant to 42 U.S.C. §§ 1983 and 1988, Fed. R. Civ. P. 54(d), and Local

Rule 54.1, Plaintiffs Florida State Conference of Branches and Youth Units of
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the NAACP, Common Cause, and Disability Rights Florida (collectively, “the

NAACP Plaintiffs”) respectfully request that this Court find that the NAACP

Plaintiffs are prevailing parties entitled to an award of attorneys’ fees, expert

fees, and litigation expenses against Defendant Laurel M. Lee, in her official

capacity as the Florida Secretary of State.1

                              I.     INTRODUCTION
      The NAACP Plaintiffs are prevailing parties under 42 U.S.C. § 1988

because the Court awarded, and the Eleventh Circuit affirmed, in part, the

NAACP Plaintiffs’ permanent injunctive relief on the merits of their First

Amendment challenge to the Solicitation Definition, which was brought

pursuant to 42 U.S.C. § 1983. See ECF Nos. 351, 352. As such, the NAACP

Plaintiffs are entitled to their reasonable attorneys’ fees, expert fees, and

litigation expenses incurred in pursuit of that relief.

       Obtaining such relief took great effort, including defending against

motions to dismiss, wading through millions of pages of discovery from


1 Plaintiffs make this motion pursuant to Local Rule 54.1(A)’s bifurcated procedure, which

requires “[a] party who seeks an award of attorney’s fees” to “first move for a
determination of the party’s entitlement to a fee award.” The party may “move for a
determination of the amount of an award only after the Court determines the party’s
entitlement to an award.” Id. If the Court determines that Plaintiffs are entitled to an
award of their attorneys’ fees, expert fees, and litigation expenses incurred in pursuit of
the permanent injunction and judgment successfully obtained in this action, the NAACP
Plaintiffs will file a motion for determination of the amount of the award, pursuant to
Local Rule 54.1(E), supported by detailed time entries and declarations supporting the
recoverable amount of such fees related to the First Amendment claim or work that
cannot be separated between that claim and other claims.

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Defendants, taking and defending numerous depositions, defending against

a motion for summary judgment, participating in a two-and-a-half-week

trial, in which the NAACP Plaintiffs’ counsel examined key witnesses, and

defending against an appeal to the Eleventh Circuit of this Court’s judgment.

      Given this effort, an award of the expenses and fees reasonably

incurred by the NAACP Plaintiffs in obtaining this relief is appropriate.

                          II.   BACKGROUND
     This Court is familiar with the underlying facts from the pretrial

proceedings, the weeks-long trial, and the extensive post-trial briefing, and

so the background is recounted only briefly here.

     On May 6, 2021, the same day Governor DeSantis signed Senate Bill

90 into law, the NAACP Plaintiffs filed a complaint for declarative and

permanent injunctive relief in this Court. ECF No. 1. The NAACP Plaintiffs

subsequently filed their First Amended Complaint (“FAC”), which became

the operative complaint. ECF No. 45. In the FAC, the NAACP Plaintiffs

challenged four provisions of Senate Bill 90 as unconstitutional under the

First, Fourteenth, and Fifteenth Amendments and violating the VRA and the

Americans with Disabilities Act (“ADA”): (1) the Drop-Box Provisions, (2)




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the VBM Request Provision, (3) the Solicitation Definition, and (4) the

Volunteer Assistance Ban.2 Id.

      The named defendants were Florida Secretary of State Lee, and all 67

of Florida’s Supervisors of Elections, all of whom were sued in their official

capacities. Id. The Court permitted the Republican National Committee and

the National Republican Senatorial Committee (collectively, “Republican

Intervenors”) to intervene to defend the laws alongside the named

defendants. ECF No. 43.

      The case was consolidated with three other cases for discovery

purposes. ECF No. 92. Plaintiffs sought information on the enactment of SB

90 and the actual and anticipated effects of SB 90 from every Defendant.

Plaintiffs received millions of pages of documents in response to their

discovery requests. In turn, the NAACP Plaintiffs were required to provide

responses and objections to dozens of discovery requests (namely, requests

for production of documents and interrogatories) propounded by the

opposing parties. The NAACP Plaintiffs also prepared for, and participated

in, the depositions of several key witnesses and experts. For example, the




2 For ease of reference, the NAACP Plaintiffs adopt the terminology used in the Court’s

Final Order for the challenged provisions, except for the Volunteer Assistance Ban
(Section 104.0616(2), Florida Statutes (2021)), which was dismissed before trial.

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Plaintiffs may suffer some prejudice” as a result. ECF No. 317, at 3. After the

Court’s Order, Secretary Lee, the Supervisors, and the Republican

Intervenors were all defendants as to each of the three remaining claims.

Secretary Lee, Supervisor Hays, Supervisor Doyle, Supervisor Latimer,

Supervisor White, and the Republican Intervenors then all moved for

summary judgment, ECF Nos. 278, 282, 285, 289, which the NAACP

Plaintiffs successfully opposed, ECF Nos. 313, 315. After the Court denied

Defendants’ Motion for Summary Judgment, ECF Nos. 327, 328,3 the

NAACP Plaintiffs began intensive trial preparation in accordance with this

Court’s expedited timeline, see, e.g., League of Women Voters of Fla., Inc. v.

Lee, Case No. 21-cv-186 (“LWV”), ECF Nos. 365, 403, 432, coordinating

closely with other plaintiff groups for the consolidated Zoom trial, including

preparing a lengthy lineup of witnesses, preparing pretrial motions, and

contributing to the pretrial stipulation.

      Over the course of a two-and-a-half-week trial, the NAACP Plaintiffs

presented testimony from each of the NAACP Plaintiffs; from several voters

adversely affected by the challenged provisions of SB 90; and from experts

Dr. Smith, Dr. Burch, and Mr. Cooper. The NAACP Plaintiffs’ post-trial brief,


3 The Court granted summary judgment to Defendants “only to the extent that Plaintiffs

mount” a First Amendment facial challenge to the Solicitation Definition, and denied
Defendants’ motion in all other respects. ECF No. 327, at 9-10; ECF No. 328, at 31-32.

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submitted in conjunction with the Florida Rising Plaintiffs, totaled more

than 400 pages, detailed proposed findings of fact and conclusions of law,

and included 13 appendices providing potentially helpful information from

trial to the Court. LWV, ECF No. 652.

        On March 31, 2022, this Court entered an Order granting a permanent

injunction based on several of the NAACP Plaintiffs’ claims.4 See ECF No.

351.     On the First Amendment claim, specifically, the Court entered a

permanent injunction prohibiting Volusia County Supervisor of Elections

Lewis from enforcing the Solicitation Definition. Relying on the testimony

of Ms. Cynthia Slater—the president of the Volusia County-Daytona Beach

Branch of the NAACP Florida State Conference—the Court found that the

NAACP Florida State Conference had standing to challenge the Solicitation

Definition against Defendant Lewis and that Plaintiff’s line warming

activities were expressive. ECF No. 351, at 29-35, 148. The Court found that


4 First, the Court found for the NAACP Plaintiffs and entered a permanent injunction

prohibiting Defendants Lee and the Supervisors of Elections from enforcing the Drop-
Box Provisions and the Solicitation Definition. The Court relied on testimony from the
NAACP Plaintiffs’ witnesses and experts’ testimonies, including Dr. Burch, Dr. Smith, and
Mr. Cooper, to find that the Drop-Box Provisions and the Solicitation Definition were
enacted with the intent to discriminate against Black voters, in violation of the Fourteenth
Amendment, the Fifteenth Amendment, and Section 2 of the VRA.
        Second, based on Florida’s longstanding pattern of imposing burdens on Black
voters, as demonstrated by the NAACP Plaintiffs, the Court imposed a preclearance
remedy pursuant to Section 3(c) of the VRA, subjecting Florida to ten years of court
supervision of election law changes relating to, inter alia, drop boxes and “line warming”
activities.

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“line warming” activities are protected by the First Amendment, id. at 160-

67, and that the Solicitation Definition, as broadened and expanded by SB

90, is both impermissibly vague such that it chilled Plaintiffs’ speech in

violation of the Due Process Clause of the Fourteenth Amendment, id. at 167-

81, and overbroad in violation of the First Amendment, id. at 181-85. 5

      The Secretary appealed this Court’s judgment on July 11, 2022. 6 The

NAACP Plaintiffs expended significant time and resources opposing the

Appeal and defending this Court’s injunction against the enforcement of the

Solicitation Definition. This included reviewing the trial record and post-

trial filings, researching and writing the sections of the appellate brief

pertaining to the Solicitation Definition, and preparing for oral argument.

On April 27, 2023, the Eleventh Circuit affirmed, in part, this Court’s

judgment on the Solicitation Definition, finding that the second half of the

definition, “which prohibits engaging in any activity with the . . . effect of

influencing a voter,” is “impermissibly vague in all of its applications.”


5 The Court did not reach the NAACP Plaintiffs’ claims that the Drop-Box Provisions and

the Solicitation Definition unduly burden the right to vote under the Supreme Court’s
Anderson-Burdick test under the First and Fourteenth Amendments, id. at 244–45, and
did not reach the challenge to the Solicitation Definition on preemption grounds, id. at
187–88. With respect to the VBM Request Provision, the Court entered judgment in
Defendants’ favor under the Anderson-Burdick test. Id. at 246–55. The Court entered
judgment for Defendants on the NAACP Plaintiffs’ ADA claim. Id. at 218–44.

6 The Eleventh Circuit reversed the Court’s judgment on the Fourteenth and Fifteenth

amendments and VRA claims, on appeal.

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League of Women Voters of Fla. Inc. v. Fla. Sec’y of State, 66 F.4th 905, 947

(11th Cir. 2023) (internal quotations and citations omitted).7 As a result of

the NAACP Plaintiffs’ pursuing the First Amendment claim and obtaining

injunctive relief against the enforcement of the Solicitation Definition,

organizations like the Florida State Conference of Branches and Youth Units

of the NAACP can continue to provide nonpartisan assistance to voters at the

polls without fearing prosecution as a result of a voter misinterpreting their

efforts as being intended to improperly influence their vote.

                                 III. ARGUMENT

       The NAACP Plaintiffs’ success in obtaining permanent injunctive relief

against the enforcement of the Solicitation Definition renders them

“prevailing parties” under Section 1988. As such, the NAACP Plaintiffs are

entitled to an award of attorneys’ fees, expert fees, and litigation expenses for

their efforts related to the First Amendment claim, pursuant to Section 1988.

       A.     The NAACP Plaintiffs are “prevailing parties” under
              Section 1988.
       Section 1988 entitles plaintiffs in Section 1983 actions to recover

reasonable attorney’s fees “if they succeed on any significant issue in

litigation which achieves some of the benefit the parties sought in bringing


7 The Eleventh Circuit did not find the first phrase of the definition, which prohibits

engaging in activity with the “intent to influence a voter,” to be either vague or overbroad.
Id. at 946, 948.
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suit.” Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (footnote and citation

omitted). The Eleventh Circuit has emphasized that “the test for prevailing

party status . . . is a permissive one.” Virdi v. Dekalb Cnty. Sch. Dist., 216 F.

App’x 867, 869 (11th Cir. 2007).

      The fee award formulation is “generous,” id., and designed to

effectuate Congress’s purpose “to ensure ‘effective access to the judicial

process’ for persons with civil rights grievances.” Hensley, 461 U.S. at 429

(quoting H.R. Rep. No. 94-1558, at 1 (1976)). To establish entitlement, one

need only “point to a resolution of the dispute which changes the legal

relationship between itself and the defendant.” Tex. State Tchrs. Ass’n v.

Garland Indep. Sch. Dist., 489 U.S. 782, 792 (1989). Both the Supreme

Court and the Eleventh Circuit have “repeatedly held that an injunction or

declaratory judgment, like a damages award, will usually satisfy that test.”

Lefemine v. Wideman, 568 U.S. 1, 4 (2012) (citation omitted).

      A prevailing party “should ordinarily recover an attorney’s fee unless

special circumstances would render such an award unjust.” Newman v.

Piggie Park Enters., Inc., 390 U.S. 400, 402 (1968). “Moreover, because the

special circumstances exception is a judicially imposed provision not found

within the text of section 1988, the exception ‘should be narrowly construed

so as not to interfere with the congressional purpose in passing [section


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1988].’” Johnson v. Mortham, 950 F. Supp. 1117, 1122 (N.D. Fla. 1996)

(citation omitted) (quoting Martin v. Heckler, 773 F.2d 1145, 1150 (11th Cir.

1985) (en banc)), on reconsideration in part, 173 F.R.D. 313 (N.D. Fla. 1997).

      Under these established standards, the NAACP Plaintiffs qualify as

“prevailing parties” as a result of their success on their First Amendment

claim challenging the Solicitation Definition. ECF No. 351, at 284–85. As a

result of this Court’s Order, and the Eleventh Circuit’s partial affirmance,

there has been a “material alteration of the legal relationship of the parties

in a manner which Congress sought to promote in the fee statute.” Common

Cause/Georgia v. Billups, 554 F.3d 1340, 1356 (11th Cir. 2009) (quoting Sole

v. Wyner, 551 U.S. 74, 75 (2007)).

      Finally, the fact that the NAACP Plaintiffs did not prevail on all of their

claims does nothing to change the NAACP Plaintiffs’ status as prevailing

parties. Plaintiffs in Section 1983 actions are entitled to fees under Section

1988 “if they succeed on any significant issue in litigation which achieves

some of the benefit the parties sought in bringing suit.” Hensley, 461 U.S. at

433 (emphasis added). Indeed, the Supreme Court has “rejected a test that

required the plaintiff to win on the ‘central issue’ in the lawsuit, in part

because ‘[b]y focusing on the subjective importance of an issue to the

litigants, it asks a question which is almost impossible to answer.’” See Virdi,


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216 F. App’x at 869 (quoting Tex. State Tchrs. Ass’n, 489 U.S. at 791). Courts

routinely award plaintiffs prevailing party status when they prevail on just

one of several claims in litigation. See, e.g., id. at 867 (awarding prevailing

party status to a plaintiff who prevailed on a facial constitutional challenge

to a minority vendor program but lost claims of intentional racial

discrimination); Warnock v. Archer, 380 F.3d 1076, 1083 (8th Cir. 2004)

(awarding prevailing party status to a plaintiff who prevailed on

establishment clause claims alleging that certain prayers in schools were

unconstitutional, but lost on various harassment claims); Lowry ex rel.

Crow v. Watson Chapel Sch. Dist., 540 F.3d 752, 765 (8th Cir. 2008)

(awarding prevailing party status to “plaintiffs [who] prevailed on only one

of the four counts in their complaint” bringing various constitutional

challenges to a student apparel policy imposed by a public school district).

The NAACP Plaintiffs more than satisfy this permissive test because they

prevailed and secured injunctive relief on one of the core constitutional

claims in the litigation.




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      B.    As prevailing parties, the NAACP Plaintiffs are entitled
            to attorneys’ fees, costs, and expenses, including
            expert fees for their efforts related to the First
            Amendment claim.
      As prevailing parties under Section 1988, the NAACP Plaintiffs may

recover “a reasonable attorney’s fee” for work related to pursuing the First

Amendment challenge to the Solicitation Definition. 28 U.S.C. § 1988.

      Moreover, the NAACP Plaintiffs are entitled to additional litigation

expenses. Courts have held that “[a]n award of attorney’s fees under section

1988 also includes various costs and expenses, over and above those outlined

in [28 U.S.C. § 1920], the general statute for taxation of costs.” Johnson, 950

F. Supp. at 1126 (footnotes omitted).

      The definition of reasonable litigation expenses is broad, including

such items as photocopying charges, fees of process servers, travel, and

related meal expenses, as well as telephone, postage, computer research, and

data hosting and processing fees. See Missouri v. Jenkins ex rel. Agyei, 491

U.S. 274, 285 (1989) (noting that the “fee must take into account the work

not only of attorneys, but also of secretaries, messengers, librarians, janitors,

and others whose labor contributes to the work product for which an

attorney bills her client; and it must also take account of other expenses and

profit”); Evans v. Books-A-Million, 762 F.3d 1288, 1299 (1st Cir. 2014)

(collecting cases detailing types of reasonable litigation expenses);

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N.A.A.C.P. v. City of Evergreen, Ala., 812 F.2d 1332, 1337 (1st Cir. 1987)

(“‘[W]ith the exception of routine office overhead normally absorbed by the

practicing attorney, all reasonable expenses incurred in case preparation,

during the course of litigation, or as an aspect of settlement of the case may

be taxed as costs under section 1988’ and ‘the standard of reasonableness is

to be given a liberal interpretation.’”) (quoting Dowdell v. City of Apopka,

698 F.2d 1181, 1192 (1st Cir. 1983)). Accordingly, the NAACP Plaintiffs

respectfully request that the Court determine that they are also entitled to

their reasonable costs incurred.

      C.   The Court should award fees against Defendant Lee.
      The Court entered judgment for the NAACP Plaintiffs against

Defendants Lee and Volusia County Supervisor of Elections Lewis on the

NAACP Plaintiffs’ vagueness challenge to the Solicitation Definition. The

Court’s injunction of the Solicitation Definition did not issue against the

Secretary, because she had disclaimed responsibility for it, resulting in the

Court’s dismissal of that claim against the Secretary. ECF No. 249, at 24–

25. But the Secretary then voluntarily reinserted herself as a defendant

against that claim. ECF No. 300. The Court should award the NAACP

Plaintiffs’ fees against Defendant Lee as discussed below. The NAACP

Plaintiffs do not seek a fee award against Supervisor Lewis.


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            1.     Defendant Lee is liable for fees due to her
                   intervention to defend the Solicitation Definition.
      The Court should hold Defendant Lee liable for fees based on her

intervention to defend the Solicitation Definition. An award of fees against

an intervenor is subject to a higher standard, requiring a showing of

wrongdoing or fault. Mallory v. Harkness, 923 F. Supp. 1546, 1552 (S.D. Fla.

1996), aff'd, 109 F.3d 771 (11th Cir. 1997); see also Indep. Fed’n. of Flight

Attendants v. Zipes, 491 U.S. 754, 761 (1989). But that requirement is easily

met against Defendant Lee here.

     Much like the Florida Attorney General in Mallory, by intervening to

defend the       Solicitation Definition,   Defendant Lee “defended the

unconstitutional statute voluntarily and in doing so attempted to aid in the

offending statute’s enforcement.” Mallory, 923 F. Supp. at 1553. Having

successfully extricated herself from the challenge to the Solicitation

Definition, Defendant Lee then affirmatively sought to reestablish herself as

a defendant “so that she may defend all statutory provisions being challenged

before this Court.” ECF No. 300. Defendant Lee’s counsel took the lead at

trial in defending the Solicitation Definition alongside the other provisions,

and defended it on appeal. In contrast, the Supervisors—the only non-

intervenor Defendants with respect to the Solicitation Definition—took a far

less active role, with only Supervisor Earley’s counsel and Supervisor White’s

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counsel asking any questions at trial, and then only a handful. Supervisor

Lewis did not appear at trial at all.

      A state official, “acting as a representative of the state, cannot be

‘innocent’ in terms of violating the Plaintiff’s civil rights” when “[t]he state

enacted, enforced, and defended the unconstitutional statute.” Mallory, 923

F. Supp. at 1553. Just as in Mallory, here “[t]he state should not be allowed

to require [officials] to enforce an unconstitutional statute, defend that

statute on the merits as an intervenor in federal court, and then attempt to

use its intervenor status to escape liability for attorney’s fees. Allowing such

a loophole violates the policy behind 42 U.S.C. § 1988.” Id. Thus, the Court

should award attorneys’ fees against Defendant Lee based on her voluntary

intervention to defend the Solicitation Definition.

                            IV.    CONCLUSION
      For the reasons discussed above, the Court should find that the NAACP

Plaintiffs are prevailing parties entitled to an award of their reasonable

attorneys’ fees and costs, including reasonable and related litigation

expenses for their efforts to obtain injunctive relief against the enforcement

of the Solicitation Definition, and that those fees and costs should be

awarded against Defendant Lee as discussed above. In accordance with the

local rules, should the Court grant this Motion, the NAACP Plaintiffs will


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then file a subsequent motion to determine the fee amount with supporting

material focused on the fees and expenses related to Plaintiffs’ work on the

First Amendment claim.

Dated: February 22, 2024                 Respectfully submitted,

                                         /s/ Amia L. Trigg
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                    LOCAL RULE 7.1 CERTIFICATION

      Pursuant to Local Rule 7.1(B), counsel for the Plaintiffs conferred with

counsel for the Secretary and confirms that the Secretary opposes the

requested relief.

      Pursuant to Local Rule 7.1(F), this Motion contains 3,494 words,

excluding the case style, conferral certification and certificate of service.

                                      /s/ Amia L. Trigg
                                     Amia L. Trigg

                                     Counsel for the NAACP Plaintiffs



                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

served to all counsel of record through the Court’s CM/ECF system on the

22nd day of February.

                                      /s/ Amia L. Trigg
                                     Amia L. Trigg

                                     Counsel for the NAACP Plaintiffs




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